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                                                                                             APPEAL




                                  U.S. Bankruptcy Court
                        Eastern District of New York (Central Islip)
                         Adversary Proceeding #: 8−20−08049−ast

 Assigned to: Judge Alan S. Trust                              Date Filed: 03/13/20
 Lead BK Case: 18−71748
 Lead BK Title: Orion Healthcorp, Inc. and Allied World
 National Assurance Co.
 Lead BK Chapter: 11
 Demand: $4020000
  Nature[s] of Suit: 12 Recovery of money/property − 547 preference
                     13 Recovery of money/property − 548 fraudulent transfer
                     14 Recovery of money/property − other



 Plaintiff
 −−−−−−−−−−−−−−−−−−−−−−−
 Howard M Ehrenberg, in his capacity as       represented by Jeffrey P Nolan
 Liquidating Trustee of Orion Healthcorp,                    Pachulski Stang Ziehl & Jones LLP
 Inc., et al                                                 780 Third Avenue
                                                             34th Floor
                                                             New York, NY 10017
                                                             310−772−2313
                                                             Fax : 310−201−0760
                                                             Email: jnolan@pszjlaw.com

                                                             Jeffrey Norlan
                                                             Pachulski Stang Ziehl & Jones LLP
                                                             780 Third Avenue
                                                             34th Floor
                                                             New York, NY 10017
                                                             LEAD ATTORNEY

                                                             Ilan D Scharf
                                                             Pachulski Stang Ziehl & Jones LLP
                                                             780 Third Avenue
                                                             36th Floor
                                                             New York, NY 10017
                                                             (212) 561−7721
                                                             Fax : (212) 561−7777
                                                             Email: ischarf@pszjlaw.com
                                                             LEAD ATTORNEY


 V.

 Defendant
 −−−−−−−−−−−−−−−−−−−−−−−
 Arvind Walia                                 represented by Paris Gyparakis
                                                             Porzio, Bromberg & Newman, P.C.
                                                             1675 Broadway, Ste 1810
                                                             New York, NY 10019
                                                             212−265−6888

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                                                          Fax : 212−957−3983
                                                          Email: pgyparakis@pbnlaw.com

                                                          Christine McCabe
                                                          Christine McCabe
                                                          4609 Bedford Blvd.
                                                          Wilmington, DE 19803
                                                          302−354−2166
                                                          Email: cmccabe@rosenpc.com

                                                          Sanford P Rosen
                                                          Rosen & Associates, P.C.
                                                          747 Third Avenue
                                                          New York, NY 10017−2803
                                                          (212) 223−1100
                                                          Fax : (212) 223−1102
                                                          Email: srosen@rosenpc.com

                                                          Eugene Ronald Scheiman
                                                          The Law Office of Eugene R. Scheiman
                                                          17 State Street
                                                          Ste Floor 40
                                                          New York, NY 10004
                                                          212−594−7563
                                                          Email: eugene.scheiman@scheimanlaw.com


 Defendant
 −−−−−−−−−−−−−−−−−−−−−−−
 Niknim Management Inc.                   represented by Paris Gyparakis
                                                         (See above for address)

                                                          Sanford P Rosen
                                                          (See above for address)

                                                          Eugene Ronald Scheiman
                                                          (See above for address)

  Filing Date     #                                        Docket Text

                      153    Order Granting and Denying in Part Judgment against Defendants Arvind
                             Walia and Niknim Management Inc. Plaintiffs First Cause of Action to
                             Avoid an Intentionally Fraudulent Transfer under 11 U.S.C. §§544 and
                             548(a)(1)(A) and N.Y. Debtor and Creditor Law §276, Second Cause of
                             Action to Avoid a Constructively Fraudulent Transfer under 11 U.S.C.
                             §544 and N.Y. Debtor and Creditor Law §§272−275, and §273−a, to
                             avoid and recover the transfer in the amount of $1,520,000 and Fourth
                             Cause of Action For Recovery of Property Pursuant to 11 U.S.C.§544
                             and N.Y. Debtor and Creditor Law is granted as to each causes of action.
                             Defendants NIKNIM Management, Inc., and Arvind Walia, individually,
                             are joint and severally liable for $1,520,000. Plaintiffs Fifth Cause of
                             Action to Object to the Claim No. 10067, filed in the amount of $61,590,
                             as filed by Arvind Walia, is granted and the claim disallowed pursuant to
                             Bankruptcy Code section 502(d). Plaintiff is awarded plus pre− judgment
                             interest in accordance with the applicable interest rate as to the Second
                             Transfer as against Defendants Arvind Walia and NIKNIM Management
                             Inc., jointly and individually. The Court retains jurisdiction over
                             remaining matters related thereto including costs and issuance of
                             judgment (RE: related document(s)1 Complaint). Signed on 12/6/2024
  12/06/2024                 (dnb) (Entered: 12/06/2024)


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                     157    Judgment against Defendants Arvind Walia and Niknim Management
                            Inc. ORDERED AND ADJUDGED that Plaintiff recover the following:
                            Judgment is hereby entered against Defendants, Arvind Walia, and
                            NIKNIM Management, Inc., jointly and individually, and in favor of
                            Plaintiff, Howard M Ehrenberg, the duly appointed Liquidating Trustee
                            for Orion Healthcorp., Inc., in the amount of $1,520,000 in principal plus
                            costs of suit of $350.00 and prejudgment interest, calculated from the
                            date of the filing of the Complaint on March 13, 2020, to judgment,
                            (1,831 days) calculated in accordance with New York State Law at 9%
                            simple interest in the amount of $686,248.76, for a total judgment of
                            $2,206,598.76.Post−judgment interest shall accrue and be payable by
                            Defendants, Arvind Waliaand NIKNIM Management, Inc., jointly and
                            individually at the prevailing federalrate pursuant to 28 U.S.C. § 1961(a)
                            from the date of entry of this Judgment to the date the amount is paid in
                            full (RE: related document(s)153 Order). Signed on 4/3/2025 (dnb)
  04/03/2025                (Entered: 04/04/2025)

                     168    Cross Appeal . Fee Amount $298 Filed by Jeffrey P Nolan on behalf of
                            Howard M Ehrenberg (RE: related document(s)159 Notice of Appeal
                            filed by Defendant Arvind Walia, Defendant Niknim Management Inc.).
                            Appellant Designation due by 05/5/2025. (Attachments: # 1 Civil Cover
  04/21/2025                Sheet)(Nolan, Jeffrey) (Entered: 04/21/2025)




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:
                                                             Chapter 11
 ORION HEALTHCORP, INC. et al.,

                          Debtors.                           Case No. 18-71748 (AST)
 HOWARD M. EHRENBERG, IN HIS
 CAPACITY AS LIQUIDATING TRUSTEE OF
 ORION HEALTHCORP, INC., ET AL.,

                          Plaintiff,                         Adv. Proc. No. 20-08049 (AST)
 v.

 ARVIND WALIA; NIKNIM MANAGEMENT
 INC.,

                          Defendants.

       ORDER GRANTING AND DENYING IN PART JUDGMENT AGAINST
       DEFENDANTS ARVIND WALIA AND NIKNIM MANAGEMENT, INC.

          The Court, having held trial in the above-referenced matter on July 24, 2024, and having

considered the evidence, the Court’s April 10, 2024 ruling on Motion for Summary Judgment, or

in the Alternative Summary Adjudication as Against Defendants Arvind Walia; Niknim

Management Inc, prior pleadings and the record in this bankruptcy case as a whole; and having set

this matter for a ruling conference on November 20, 2024 (the “Ruling Conference”); and

sufficient cause appearing; and for the reasons set forth on the record of the Ruling Conference

including certain legal and factual findings of the Court,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

  1.        Plaintiff’s First Cause of Action to Avoid an Intentionally Fraudulent Transfer under 11

            U.S.C. §§544 and 548(a)(1)(A) and N.Y. Debtor and Creditor Law §276, and Second

            Cause of Action to Avoid a Constructively Fraudulent Transfer under 11 U.S.C. §544

            and N.Y. Debtor and Creditor Law §§272-275, and §273-a, to avoid and recover the




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         transfer in the amount of $2,500,000 (the “First Transfer”), made to the Defendants

         Arvind Walia and NIKNIM Management, Inc., is denied as to either causes of action.

 2.      Plaintiff’s First Cause of Action to Avoid an Intentionally Fraudulent Transfer under 11

         U.S.C. §§544 and 548(a)(1)(A) and N.Y. Debtor and Creditor Law §276, Second Cause

         of Action to Avoid a Constructively Fraudulent Transfer under 11 U.S.C. §544 and N.Y.

         Debtor and Creditor Law §§272-275, and §273-a, to avoid and recover the transfer in

         the amount of $1,520,000 (the “Second Transfer”) and Fourth Cause of Action For

         Recovery of Property Pursuant to 11 U.S.C.§544 and N.Y. Debtor and Creditor Law is

         granted as to each causes of action. Defendants NIKNIM Management, Inc., and Arvind

         Walia, individually, are joint and severally liable for $1,520,000.

 3.      Plaintiff’s Fifth Cause of Action to Object to the Claim No. 10067, filed in the amount

         of $61,590, as filed by Arvind Walia, is granted and the claim disallowed pursuant to

         Bankruptcy Code section 502(d).

 4.      Plaintiff is awarded plus pre- judgment interest in accordance with the applicable interest

         rate as to the Second Transfer as against Defendants Arvind Walia and NIKNIM

         Management Inc., jointly and individually.

 5.      The Court retains jurisdiction over remaining matters related thereto including costs and

         issuance of judgment.




 Dated: December 6, 2024                                        ____________________________
       Central Islip, New York                                             Alan S. Trust
                                                               Chief United States Bankruptcy Judge




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


In re:
                                                                  Chapter 11
ORION HEALTHCORP, INC.,1
                                                                  Case No. 18-71748-(AST)
                                   Debtor.


HOWARD M. EHRENBERG IN HIS CAPACITY
AS LIQUIDATING TRUSTEE OF ORION
HEALTHCORP, INC., ET AL.,

                                   Plaintiff,
                                                                  Adversary Proc. No. 20-08049-(AST)
                 - against -

ARVIND WALIA; NIKNIM MANAGEMENT,
INC.,

                                   Defendant.


    JUDGEMENT AGAINST ARVIND WALIA AND NIKNIM MANAGEMENT, INC.

         The Court having called this adversary for the duly scheduled ruling conference on

November 20, 2024, (the “Ruling Conference”) following the trial conducted on July 24, 2024,

and the Court having considered the evidence submitted by the parties and issued its order

related thereto, judgment is hereby entered against Arvind Walia and NIKNIM Management,



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748




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Inc., jointly and individually, in favor of the Plaintiff, Howard M. Ehrenberg, In His Capacity As

Liquidating Trustee Of Orion Healthcorp, Inc., as follows:

       IT IS HEREBY ORDERED AND ADJUDGED that Plaintiff recover the following:

       1.      Judgment is hereby entered against Defendants, Arvind Walia, and NIKNIM

               Management, Inc., jointly and individually, and in favor of Plaintiff, Howard M

               Ehrenberg, the duly appointed Liquidating Trustee for Orion Healthcorp., Inc., in

               the amount of $1,520,000 in principal plus costs of suit of $350.00 and

               prejudgment interest, calculated from the date of the filing of the Complaint on

               March 13, 2020, to judgment, (1,831 days) calculated in accordance with New

               York State Law at 9% simple interest in the amount of $686,248.76, for a total

               judgment of $2,206,598.76.

       2.      Post-judgment interest shall accrue and be payable by Defendants, Arvind Walia

               and NIKNIM Management, Inc., jointly and individually at the prevailing federal

               rate pursuant to 28 U.S.C. § 1961(a) from the date of entry of this Judgment to the

               date the amount is paid in full.




 Dated: April 3, 2025                                          ____________________________
       Central Islip, New York                                            Alan S. Trust
                                                              Chief United States Bankruptcy Judge




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                                                   Notice Recipients
District/Off: 0207−8                      User: admin                           Date Created: 4/4/2025
Case: 8−20−08049−ast                      Form ID: pdf000                       Total: 6


Recipients of Notice of Electronic Filing:
aty         Eugene Ronald Scheiman           eugene.scheiman@scheimanlaw.com
aty         Paris Gyparakis         pgyparakis@pbnlaw.com
aty         Sanford P Rosen          srosen@rosenpc.com
                                                                                                                TOTAL: 3

Recipients submitted to the BNC (Bankruptcy Noticing Center):
ust         United States Trustee     Long Island Federal Courthouse      560 Federal Plaza − Room 560      Central Islip,
            NY 11722−4437 USA
10129404 Arvind Walia           C/O The Law Office of Eugene R. Scheiman      570 Lexington Avenue, Suite 1600        New
            York, New York 10022
10129405 Niknim Management Inc.           C/O The Law Office of Eugene R. Scheiman        570 Lexington Avenue, Suite
            1600        New York, New York 10022
                                                                                                                TOTAL: 3




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Official Form 417A (12/23)




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


In re:
                                                                     Chapter 11
ORION HEALTHCORP, INC.,1
                                                                     Case No. 18-71748-ast
                                   Debtor.


HOWARD M. EHRENBERG IN HIS CAPACITY
AS LIQUIDATING TRUSTEE OF ORION
HEALTHCORP, INC., ET AL.,

                                   Plaintiff,
                                                                     Adversary Proc. No. 20-08049-ast
                     - against -

ARVIND WALIA; NIKNIM MANAGEMENT,
INC.,

                                   Defendant.



                     NOTICE OF APPEAL AND STATEMENT OF ELECTION


Part 1: Identify the appellant(s)
    1.   Name(s) of appellant(s):
         Howard M. Ehrenberg, in his capacity as Liquidating Trustee of Orion Healthcorp, Inc.,



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748
Official Form 417A                     Notice of Appeal and Statement of Election                            page 1



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Official Form 417A (12/23)




    2.   Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this
         appeal:

           For appeals in an adversary proceeding.            For appeals in a bankruptcy case and not in an
               Plaintiff                                      adversary proceeding.
               Defendant                                          Debtor
               Other (describe) Cross-Appellant                   Creditor
                                                                  Trustee
                                                                  Other (describe)



Part 2: Identify the subject of this appeal
     1. Describe the judgment—or the appealable order or decree—from which the appeal is taken:
        Order Granting and Denying in Part Judgement Against Arvind Walia and Niknim
        Management, Inc., Docket No. 153; and Judgement Against Arvind Walia and Niknim
        Management, Inc., Docket No 157

     2. State the date on which the judgment—or the appealable order or decree—was entered:
        December 6, 2024; April 3, 2025

Part 3: Identify the other parties to the appeal
List the names of all parties to the judgment—or the appealable order or decree—from which the appeal is
taken and the names, addresses, and telephone numbers of their attorneys (attach additional pages if
necessary):

     1. Party: Arvind Walia               Attorney: Sanford P. Rosen
                                                    Rosen & Associates
                                                    747 Third Avenue
                                                    New York, NY 10017-2803
               Niknim
     2. Party: Management, Inc.           Attorney: Sanford P. Rosen
                                                    Rosen & Associates
                                                    747 Third Avenue
                                                    New York, NY 10017-2803




Official Form 417A                    Notice of Appeal and Statement of Election                         page 1



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Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the
United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
Appellate Panel to hear the appeal.

               Appellant(s) elect to have the appeal heard by the United States District Court rather than by
              the Bankruptcy Appellate Panel.



Part 5: Sign below

/s/ Jeffrey P. Nolan                                                          Date: April 21, 2025
Signature of attorney for appellant(s) (or appellant(s)
if not represented by an attorney)

Name, address, and telephone number of attorney
(or appellant(s) if not represented by an attorney):
Ilan D. Scharf; Jeffrey P. Nolan
Pachulski Pachulski Stang Ziehl & Jones
10100 Santa Monica Blvd, 13th Floor
Los Angeles, CA 90067
(310) 277-6910



Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the
form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.


[Note to inmate filers: If you are an inmate filer in an institution and you seek the timing benefit of Fed.
R. Bankr. P. 8002(c)(1), complete Director’s Form 4170 (Declaration of Inmate Filing) and file that
declaration along with the Notice of Appeal.]




Official Form 417A                    Notice of Appeal and Statement of Election                         page 2



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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:
                                                             Chapter 11
 ORION HEALTHCORP, INC. et al.,

                          Debtors.                           Case No. 18-71748 (AST)
 HOWARD M. EHRENBERG, IN HIS
 CAPACITY AS LIQUIDATING TRUSTEE OF
 ORION HEALTHCORP, INC., ET AL.,

                          Plaintiff,                         Adv. Proc. No. 20-08049 (AST)
 v.

 ARVIND WALIA; NIKNIM MANAGEMENT
 INC.,

                          Defendants.

       ORDER GRANTING AND DENYING IN PART JUDGMENT AGAINST
       DEFENDANTS ARVIND WALIA AND NIKNIM MANAGEMENT, INC.

          The Court, having held trial in the above-referenced matter on July 24, 2024, and having

considered the evidence, the Court’s April 10, 2024 ruling on Motion for Summary Judgment, or

in the Alternative Summary Adjudication as Against Defendants Arvind Walia; Niknim

Management Inc, prior pleadings and the record in this bankruptcy case as a whole; and having set

this matter for a ruling conference on November 20, 2024 (the “Ruling Conference”); and

sufficient cause appearing; and for the reasons set forth on the record of the Ruling Conference

including certain legal and factual findings of the Court,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

  1.        Plaintiff’s First Cause of Action to Avoid an Intentionally Fraudulent Transfer under 11

            U.S.C. §§544 and 548(a)(1)(A) and N.Y. Debtor and Creditor Law §276, and Second

            Cause of Action to Avoid a Constructively Fraudulent Transfer under 11 U.S.C. §544

            and N.Y. Debtor and Creditor Law §§272-275, and §273-a, to avoid and recover the




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         transfer in the amount of $2,500,000 (the “First Transfer”), made to the Defendants

         Arvind Walia and NIKNIM Management, Inc., is denied as to either causes of action.

  2.     Plaintiff’s First Cause of Action to Avoid an Intentionally Fraudulent Transfer under 11

         U.S.C. §§544 and 548(a)(1)(A) and N.Y. Debtor and Creditor Law §276, Second Cause

         of Action to Avoid a Constructively Fraudulent Transfer under 11 U.S.C. §544 and N.Y.

         Debtor and Creditor Law §§272-275, and §273-a, to avoid and recover the transfer in

         the amount of $1,520,000 (the “Second Transfer”) and Fourth Cause of Action For

         Recovery of Property Pursuant to 11 U.S.C.§544 and N.Y. Debtor and Creditor Law is

         granted as to each causes of action. Defendants NIKNIM Management, Inc., and Arvind

         Walia, individually, are joint and severally liable for $1,520,000.

  3.     Plaintiff’s Fifth Cause of Action to Object to the Claim No. 10067, filed in the amount

         of $61,590, as filed by Arvind Walia, is granted and the claim disallowed pursuant to

         Bankruptcy Code section 502(d).

  4.     Plaintiff is awarded plus pre- judgment interest in accordance with the applicable interest

         rate as to the Second Transfer as against Defendants Arvind Walia and NIKNIM

         Management Inc., jointly and individually.

  5.     The Court retains jurisdiction over remaining matters related thereto including costs and

         issuance of judgment.




 Dated: December 6, 2024                                        ____________________________
       Central Islip, New York                                             Alan S. Trust
                                                               Chief United States Bankruptcy Judge




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


In re:
                                                                  Chapter 11
ORION HEALTHCORP, INC.,1
                                                                  Case No. 18-71748-(AST)
                                   Debtor.


HOWARD M. EHRENBERG IN HIS CAPACITY
AS LIQUIDATING TRUSTEE OF ORION
HEALTHCORP, INC., ET AL.,

                                   Plaintiff,
                                                                  Adversary Proc. No. 20-08049-(AST)
                 - against -

ARVIND WALIA; NIKNIM MANAGEMENT,
INC.,

                                   Defendant.


    JUDGEMENT AGAINST ARVIND WALIA AND NIKNIM MANAGEMENT, INC.

         The Court having called this adversary for the duly scheduled ruling conference on

November 20, 2024, (the “Ruling Conference”) following the trial conducted on July 24, 2024,

and the Court having considered the evidence submitted by the parties and issued its order

related thereto, judgment is hereby entered against Arvind Walia and NIKNIM Management,



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748




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                             168       04/03/25 Entered 04/22/25
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                                                        04/21/25 09:23:08
                                                                 22:35:15
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Inc., jointly and individually, in favor of the Plaintiff, Howard M. Ehrenberg, In His Capacity As

Liquidating Trustee Of Orion Healthcorp, Inc., as follows:

       IT IS HEREBY ORDERED AND ADJUDGED that Plaintiff recover the following:

       1.      Judgment is hereby entered against Defendants, Arvind Walia, and NIKNIM

               Management, Inc., jointly and individually, and in favor of Plaintiff, Howard M

               Ehrenberg, the duly appointed Liquidating Trustee for Orion Healthcorp., Inc., in

               the amount of $1,520,000 in principal plus costs of suit of $350.00 and

               prejudgment interest, calculated from the date of the filing of the Complaint on

               March 13, 2020, to judgment, (1,831 days) calculated in accordance with New

               York State Law at 9% simple interest in the amount of $686,248.76, for a total

               judgment of $2,206,598.76.

       2.      Post-judgment interest shall accrue and be payable by Defendants, Arvind Walia

               and NIKNIM Management, Inc., jointly and individually at the prevailing federal

               rate pursuant to 28 U.S.C. § 1961(a) from the date of entry of this Judgment to the

               date the amount is paid in full.




 Dated: April 3, 2025                                          ____________________________
       Central Islip, New York                                            Alan S. Trust
                                                              Chief United States Bankruptcy Judge




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                                              04/03/25 Entered
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                                                   Notice Recipients
District/Off: 0207−8                      User: admin                           Date Created: 4/4/2025
Case: 8−20−08049−ast                      Form ID: pdf000                       Total: 6


Recipients of Notice of Electronic Filing:
aty         Eugene Ronald Scheiman           eugene.scheiman@scheimanlaw.com
aty         Paris Gyparakis         pgyparakis@pbnlaw.com
aty         Sanford P Rosen          srosen@rosenpc.com
                                                                                                                TOTAL: 3

Recipients submitted to the BNC (Bankruptcy Noticing Center):
ust         United States Trustee     Long Island Federal Courthouse      560 Federal Plaza − Room 560      Central Islip,
            NY 11722−4437 USA
10129404 Arvind Walia           C/O The Law Office of Eugene R. Scheiman      570 Lexington Avenue, Suite 1600        New
            York, New York 10022
10129405 Niknim Management Inc.           C/O The Law Office of Eugene R. Scheiman        570 Lexington Avenue, Suite
            1600        New York, New York 10022
                                                                                                                TOTAL: 3




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pRevised 02.13.2025; Effective 02.17.2025                                  CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                            DEFENDANTS
       Howard M. Ehrenberg, in his capacity as Liquidating Trustee of                                        Arvind Walia and Niknim Management, Inc., Appellant; Cross-
       Orion Healthcorp, Inc, Appellee; Cross-Appellant.                                                     Appellee.
    (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant New York
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                       (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)
Pachulski Stang Ziehl & Jones LLP (310) 277-6910                                                        Rosen & Associates, P.C. (212) 223-1100
780 Third Avenue, 34th Fl.                                                                              P.O. Box 1274
New York , NY 10017                                                                                     Shelter Island Heights, NY 11965
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                         (For Diversity Cases Only)                                      and One Box for Defendant)
    1 U.S. Government                       3 Federal Question                                                                   PTF         DEF                                           PTF      DEF
          Plaintiff                             (U.S. Government Not a Party)                      Citizen of This State                1        1     Incorporated or Principal Place          4     4
                                                                                                                                                          of Business In This State

    2 U.S. Government                       4 Diversity                                            Citizen of Another State             2        2     Incorporated and Principal Place           5     5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                   Citizen or Subject of a              3        3     Foreign Nation                             6     6
                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                 TORTS                              FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                 PERSONAL INJURY                625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
    120 Marine                         310 Airplane                     365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                     376 Qui Tam (31 USC
    130 Miller Act                     315 Airplane Product                 Product Liability          690 Other                                28 USC 157                         3729(a))
    140 Negotiable Instrument              Liability                    367 Health Care/                                                      INTELLECTUAL                     400 State Reapportionment
    150 Recovery of Overpayment        320 Assault, Libel &                 Pharmaceutical                                                   PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment          Slander                          Personal Injury                                                                                    430 Banks and Banking
                                                                                                                                            820 Copyrights
                                       330 Federal Employers’               Product Liability
    151 Medicare Act                                                                                                                        830 Patent                         450 Commerce
                                           Liability                    368 Asbestos Personal
    152 Recovery of Defaulted                                                                                                               835 Patent – Abbreviated           460 Deportation
                                       340 Marine                           Injury Product
         Student Loans                                                      Liability                                                           New Drug Application           470 Racketeer Influenced and
        (Excludes Veterans)            345 Marine Product                                                                                   840 Trademark                          Corrupt Organizations
                                           Liability                  PERSONAL PROPERTY                         LABOR
    153 Recovery of Overpayment                                         370 Other Fraud                                                     880 Defend Trade Secrets           480 Consumer Credit
         of Veteran’s Benefits         350 Motor Vehicle                                               710 Fair Labor Standards                                                    (15 USC 1681 or 1692)
                                                                        371 Truth in Lending                                                    Act of 2016
    160 Stockholders’ Suits            355 Motor Vehicle                                                    Act
                                                                        380 Other Personal                                                   SOCIAL SECURITY                   485 Telephone Consumer
    190 Other Contract                     Product Liability                                           720 Labor/Management                                                        Protection Act
                                       360 Other Personal                   Property Damage                 Relations                       861 HIA (1395ff)
    195 Contract Product Liability                                      385 Property Damage                                                                                    490 Cable/Sat TV
                                           Injury                                                      740 Railway Labor Act                862 Black Lung (923)
    196 Franchise                                                           Product Liability                                                                                  850 Securities/Commodities/
                                       362 Personal Injury -                                           751 Family and Medical               863 DIWC/DIWW (405(g))                 Exchange
                                           Medical Malpractice                                              Leave Act                       864 SSID Title XVI                 890 Other Statutory Actions
       REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                   891 Agricultural Acts
    210 Land Condemnation              440 Other Civil Rights           Habeas Corpus:                 791 Employee Retirement
                                                                                                                                                                               893 Environmental Matters
    220 Foreclosure                    441 Voting                       463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                  895 Freedom of Information
    230 Rent Lease & Ejectment         442 Employment                   510 Motions to Vacate
                                                                                                                                            870 Taxes (U.S. Plaintiff              Act
    240 Torts to Land                  443 Housing/                         Sentence
                                                                                                                                                or Defendant)                  896 Arbitration
    245 Tort Product Liability             Accommodations               530 General
                                                                                                                                            871 IRS—Third Party                899 Administrative Procedure
                                                                        535 Death Penalty                 IMMIGRATION
    290 All Other Real Property        445 Amer. w/Disabilities -                                                                               26 USC 7609                        Act/Review or Appeal of
                                           Employment                   Other:                         462 Naturalization Application                                              Agency Decision
                                       446 Amer. w/Disabilities -       540 Mandamus & Other           465 Other Immigration                                                   950 Constitutionality of
                                           Other                        550 Civil Rights                   Actions                                                                 State Statutes
                                       448 Education                    555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
    1 Original              2 Removed from                    3     Remanded from                4 Reinstated or           5 Transferred from            6 Multidistrict                  8 Multidistrict
      Proceeding              State Court                           Appellate Court                Reopened                  Another District              Litigation -                     Litigation -
                                                                                                                             (specify)                     Transfer                         Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        28:1334 Bankruptcy Appeal; 422 Bankruptcy Appeal (801)
VI. CAUSE OF ACTION                     Brief description of cause:
                                        Order Granting and Denying in Part Judgement Against Arvind Walia and Niknim Management, Inc., Docket
                                        No. 153; and Judgement Against Arvind Walia and Niknim Management, Inc., Docket No 157
VII. REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                       CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDER RULE 23, F.R.Cv.P.                                                                              JURY DEMAND:            Yes      No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                         JUDGE                                                                  DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
April 21, 2025                                                           /s/ Jeffrey P. Nolan


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FOR OFFICE USE ONLY

  RECEIPT #           AMOUNT            APPLYING IFP        JUDGE           MAG. JUDGE




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                                                     CERTIFICATION OF ARBITRATION ELIGIBILITY
Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.
Case is Eligible for Arbitration
                                                                   Plaintiff/Appellee; Cross-
I, Jeffrey P. Nolan                                , counsel for Appellants                     , do hereby certify that the above captioned civil
action is ineligible for compulsory arbitration for the following reason(s):

                         monetary damages sought are in excess of $150 000, exclusive of interest and costs

                         the complaint seeks injunctive relief

                         the matter is otherwise ineligible for the following reason:


                                             DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:



                                            RELATED CASE STATEMENT (Section VIII on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rule 3 in Section VIII on the front of this form. Rule 3(a) provides that “A
civil case is “related” to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases
arise from the same transactions or events, a substantial saving of judicial resources is likely to result from assigning both cases to the same judge and
magistrate judge.” Rule 3(a) provides that “A civil case shall not be deemed “related” to another civil case merely because the civil case involves
identical legal issues, or the same parties.” Rule 3 further provides that “Presumptively, and subject to the power of a judge to determine otherwise
pursuant to paragraph (b), civil cases shall not be deemed to be “related” unless both cases are still pending before the court.”



                                         NEW YORK EASTERN DISTRICT DIVISION OF BUSINESS RULE 1(d)(3)

      If you answer “Yes” to any of the questions below, this case will be designated as a Central Islip case and you must select Office Code 2.

1.   Is the civil action being removed from a state court that is located in Nassau or Suffolk County?                                        Yes       No
2.   Is the action—not involving real property—being brought against United States, its officers or its employees AND the                     Yes       No
     majority of the plaintiffs reside in Nassau or Suffolk County?
3.   If you answered “no” to all parts of Questions 1 and 2:
         a.   Did a substantial part of the events or omissions giving rise to claim or claims occur in Nassau or Suffolk                     Yes       No
              County?
         b.   Do the majority of defendants reside in Nassau or Suffolk County?                                                                Yes       No
          c.     Is a substantial amount of any property at issue located in Nassau or Suffolk County?                                        Yes       No
4.   f this is a Fair Debt Collection Practice Act case, was the offending communication received in either Nassau or Suffolk County?          Yes      No
(Note, a natural person is considered to reside in the county in which that person is domiciled; an entity is considered a resident of the county that is
either its principal place of business or headquarters, of if there is no such county in the Eastern District, the county within the District with which it has
the most significant contacts).

                                                                        BAR ADMISSION

I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.
              Yes              No

Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?
              Yes (If yes, please explain        No

I certify the accuracy of all information provided above.

Signature:    /s/ Jeffrey P. Nolan
              Jeffrey P. Nolan




Revised 02.13.2025; Effective 02.17.2025




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                                                   Notice Recipients
District/Off: 0207−8                      User: admin                     Date Created: 4/22/2025
Case: 8−20−08049−ast                      Form ID: pdf000                 Total: 3


Recipients of Notice of Electronic Filing:
aty         Jeffrey P Nolan         jnolan@pszjlaw.com
aty         Sanford P Rosen          srosen@rosenpc.com
                                                                                                        TOTAL: 2

Recipients submitted to the BNC (Bankruptcy Noticing Center):
ust         United States Trustee    Long Island Federal Courthouse   560 Federal Plaza − Room 560   Central Islip,
            NY 11722−4437 USA
                                                                                                        TOTAL: 1




                                                                                                                      20
